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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

WESTERN DIVISION
UNITED STATES ()F AMERICA )
Plaintiff, §
VS § CASE NO. 2:O4CR20079-Ml
MARK STRAIGHT §
Defendant. ))
)

 

*T-H-I-R-D E-X-'I`-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Mark Straight, having been sentenced in the above case to the custody of the Bureau
of Prisons and having been granted leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau of Prisons by reporting to FMC Lexington, 3301 Leestown,
Lexington, KY, 40511 , by 2:00 p.m. on *FRIDAY, JUNE 10, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and retum it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will
report as ordered 10 the facility named above.

ENTERED this the _;‘_iday or May, 2005

@mtllll

J N PHIPPS MCCALLA
ITED STA'I`ES DISTRICT JUDGE

 

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:04-CR-20079 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable .l on McCalla
US DISTRICT COURT

